74 F.3d 1249
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Gary Lee McCOLPIN, Plaintiff-Appellant,v.Charles P. YAVERSKI, Home-Economics;  Henry V. Buresh,Home-Economics, Defendants-Appellees.
    No. 95-3240.(D.C.No. 95-3235-DES).
    United States Court of Appeals, Tenth Circuit.
    Jan. 22, 1996.
    
      Before SEYMOUR, Chief Judge, McKAY and HENRY, Circuit Judges.
      ORDER AND JUDGMENT1
      McKAY, Circuit Judge.
    
    
      1
      After examining appellant's brief and the appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The case is therefore ordered submitted without oral argument.
    
    
      2
      Appellant has filed a Motion for Leave to Proceed on Appeal Without Prepayment of Costs or Fees.  This motion is denied.  The filing fee is waived.
    
    
      3
      We AFFIRM for the reasons given by the district court.  The mandate shall issue forthwith.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of Tenth Circuit Rule 36.3
      
    
    